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                   EXHIBIT “C”
                           Case 1:25-cv-00414-SEG                            Document 1-3                   Filed 01/30/25                  Page 2 of 10
                                              COMMERCIAL INSURANCE APPLICATION                                                                                         DATE (MM/DD/YYYY)

                                                              APPLICANT INFORMATION SECTION                                                                                 05/13/2022
                                                                                              CARRIER                                                                            NAIC CODE
AGENCY
Relation Insurance, Inc.
5825 Medlock Bridge Parkway                                                                   COMPANY POLICY OR PROGRAM NAME                                               PROGRAM CODE



Johns Creek                                                             GA 30022              POLICY NUMBER


CONTACT Kim Langley                                                                           UNDERWRITER                                      UNDERWRITER OFFICE
NAME:
PHONE            (678) 740-0241
(A/C, No, Ext):
FAX         (678)  740-0241                                                                                                QUOTE                       ISSUE POLICY               RENEW
(A/C, No):
E-MAIL                                                                                        STATUS OF
ADDRESS:
              kim.langley@relationinsurance.com                                               TRANSACTION
                                                                                                                           BOUND (Give Date and/or Attach Copy):

                                                                                                                           CHANGE           DATE                   TIME                 AM
CODE:                                           SUBCODE:

AGENCY CUSTOMER ID:      00199161                                                                                          CANCEL         06/20/2022               12:01                PM

LINES OF BUSINESS
INDICATE LINES OF BUSINESS                PREMIUM                                                         PREMIUM                                                            PREMIUM

    BOILER & MACHINERY                    $                          CYBER AND PRIVACY                    $                         YACHT                                    $

    BUSINESS AUTO                         $                          FIDUCIARY LIABILITY                  $                                                                  $

    BUSINESS OWNERS                       $                          GARAGE AND DEALERS                   $                                                                  $

    COMMERCIAL GENERAL LIABILITY          $                          LIQUOR LIABILITY                     $                                                                  $

    COMMERCIAL INLAND MARINE              $                          MOTOR CARRIER                        $                                                                  $

    COMMERCIAL PROPERTY                   $                          TRUCKERS                             $                                                                  $

    CRIME                                 $                          UMBRELLA                             $                                                                  $

ATTACHMENTS
    ACCOUNTS RECEIVABLE / VALUABLE PAPERS                            GLASS AND SIGN SECTION                                         STATEMENT / SCHEDULE OF VALUES

    ADDITIONAL INTEREST SCHEDULE                                     HOTEL / MOTEL SUPPLEMENT                                       STATE SUPPLEMENT (If applicable)

    ADDITIONAL PREMISES INFORMATION SCHEDULE                         INSTALLATION / BUILDERS RISK SECTION                           VACANT BUILDING SUPPLEMENT

    APARTMENT BUILDING SUPPLEMENT                                    INTERNATIONAL LIABILITY EXPOSURE SUPPLEMENT                    VEHICLE SCHEDULE

    CONDO ASSN BYLAWS (for D&O Coverage only)                        INTERNATIONAL PROPERTY EXPOSURE SUPPLEMENT

    CONTRACTORS SUPPLEMENT                                           LOSS SUMMARY

    COVERAGES SCHEDULE                                               OPEN CARGO SECTION

    DEALERS SECTION                                                  PREMIUM PAYMENT SUPPLEMENT

    DRIVER INFORMATION SCHEDULE                                      PROFESSIONAL LIABILITY SUPPLEMENT

    ELECTRONIC DATA PROCESSING SECTION                               RESTAURANT / TAVERN SUPPLEMENT

POLICY INFORMATION
PROPOSED EFF DATE     PROPOSED EXP DATE             BILLING PLAN              PAYMENT PLAN       METHOD OF PAYMENT         AUDIT        DEPOSIT             MINIMUM          POLICY PREMIUM
                                                                                                                                                            PREMIUM
    06/20/2022             06/20/2023                                            Full Pay                                           $                   $                    $   0.00
                                                  DIRECT           AGENCY

APPLICANT INFORMATION
NAME (First Named Insured) AND MAILING ADDRESS (including ZIP+4)                              GL CODE                SIC                       NAICS                      FEIN OR SOC SEC #

The Landmark Condominium Association, Inc.                                                                                                     813990
c/o Management Office                                                                         BUSINESS PHONE #:

215 Piedmont Avenue, NE                                                                       WEBSITE ADDRESS

Atlanta                                                                 GA 30308
    CORPORATION              JOINT VENTURE                              NOT FOR PROFIT ORG              SUBCHAPTER "S" CORPORATION
                                   NO. OF MEMBERS
    INDIVIDUAL               LLC AND MANAGERS:                          PARTNERSHIP                     TRUST

NAME (Other Named Insured) AND MAILING ADDRESS (including ZIP+4)                              GL CODE                SIC                       NAICS                      FEIN OR SOC SEC #



                                                                                              BUSINESS PHONE #:

                                                                                              WEBSITE ADDRESS



    CORPORATION              JOINT VENTURE                              NOT FOR PROFIT ORG              SUBCHAPTER "S" CORPORATION
                                   NO. OF MEMBERS
    INDIVIDUAL               LLC AND MANAGERS:                          PARTNERSHIP                     TRUST

NAME (Other Named Insured) AND MAILING ADDRESS (including ZIP+4)                              GL CODE                SIC                       NAICS                      FEIN OR SOC SEC #



                                                                                              BUSINESS PHONE #:

                                                                                              WEBSITE ADDRESS



    CORPORATION              JOINT VENTURE                              NOT FOR PROFIT ORG              SUBCHAPTER "S" CORPORATION
                                   NO. OF MEMBERS
    INDIVIDUAL               LLC AND MANAGERS:                          PARTNERSHIP                     TRUST

ACORD 125 (2016/03)                                                                     Page 1 of 4                 © 1993-2015 ACORD CORPORATION. All rights reserved.
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                              Case 1:25-cv-00414-SEG                             Document 1-3                     Filed 01/30/25                   Page 3 of 10
                                                                                                       AGENCY CUSTOMER ID: 00199161
CONTACT INFORMATION
CONTACT TYPE:                                                                                       CONTACT TYPE:

CONTACT NAME:                                                                                       CONTACT NAME:
PRIMARY            HOME         BUS       CELL    SECONDARY         HOME        BUS       CELL      PRIMARY              HOME       BUS     CELL      SECONDARY         HOME       BUS     CELL
PHONE #                                           PHONE #                                           PHONE #                                           PHONE #



PRIMARY E-MAIL ADDRESS:                                                                             PRIMARY E-MAIL ADDRESS:

SECONDARY E-MAIL ADDRESS:                                                                           SECONDARY E-MAIL ADDRESS:
PREMISES INFORMATION (Attach ACORD 823 for Additional Premises)
LOC #   STREET       c/o Management Office                                            CITY LIMITS    INTEREST                   # FULL TIME EMPL   ANNUAL REVENUES: $

1        215 Piedmont Avenue, NE                                                          INSIDE          OWNER                                    OCCUPIED AREA:                          SQ FT

BLD #   CITY:      Atlanta                                   STATE:        GA             OUTSIDE         TENANT                # PART TIME EMPL   OPEN TO PUBLIC AREA:                    SQ FT

1       COUNTY:                                              ZIP: 30308                                                                            TOTAL BUILDING AREA:                    SQ FT

DESCRIPTION OF OPERATIONS:                                                                                                                         ANY AREA LEASED TO OTHERS? Y / N

LOC #   STREET                                                                        CITY LIMITS    INTEREST                   # FULL TIME EMPL   ANNUAL REVENUES: $

                                                                                          INSIDE          OWNER                                    OCCUPIED AREA:                          SQ FT

BLD #   CITY:                                                STATE:                       OUTSIDE         TENANT                # PART TIME EMPL   OPEN TO PUBLIC AREA:                    SQ FT

        COUNTY:                                              ZIP:                                                                                  TOTAL BUILDING AREA:                    SQ FT

DESCRIPTION OF OPERATIONS:                                                                                                                         ANY AREA LEASED TO OTHERS? Y / N

LOC #   STREET                                                                        CITY LIMITS    INTEREST                   # FULL TIME EMPL   ANNUAL REVENUES: $

                                                                                          INSIDE          OWNER                                    OCCUPIED AREA:                          SQ FT

BLD #   CITY:                                                STATE:                       OUTSIDE         TENANT                # PART TIME EMPL   OPEN TO PUBLIC AREA:                    SQ FT

        COUNTY:                                              ZIP:                                                                                  TOTAL BUILDING AREA:                    SQ FT

DESCRIPTION OF OPERATIONS:                                                                                                                         ANY AREA LEASED TO OTHERS? Y / N

LOC #   STREET                                                                        CITY LIMITS    INTEREST                   # FULL TIME EMPL   ANNUAL REVENUES: $

                                                                                          INSIDE          OWNER                                    OCCUPIED AREA:                          SQ FT

BLD #   CITY:                                                STATE:                       OUTSIDE         TENANT                # PART TIME EMPL   OPEN TO PUBLIC AREA:                    SQ FT

        COUNTY:                                              ZIP:                                                                                  TOTAL BUILDING AREA:                    SQ FT

DESCRIPTION OF OPERATIONS:                                                                                                                         ANY AREA LEASED TO OTHERS? Y / N

NATURE OF BUSINESS
                                                                                                                                                                        DATE BUSINESS
    APARTMENTS                    CONTRACTOR              MANUFACTURING                 RESTAURANT               SERVICE                                                STARTED (MM/DD/YYYY)
    CONDOMINIUMS                  INSTITUTIONAL           OFFICE                        RETAIL                   WHOLESALE
DESCRIPTION OF PRIMARY OPERATIONS

Condominium Association




                                                                            INSTALLATION, SERVICE OR REPAIR WORK                       OFF PREMISES INSTALLATION, SERVICE OR REPAIR WORK

RETAIL STORES OR SERVICE OPERATIONS % OF TOTAL SALES:                                                 %                                                                  %

DESCRIPTION OF OPERATIONS OF OTHER NAMED INSUREDS




ADDITIONAL INTEREST (Not all fields apply to all scenarios - provide only the necessary data) Attach ACORD 45 for more Additional Interests
INTEREST                                   NAME AND ADDRESS        RANK:          EVIDENCE:          CERTIFICATE           POLICY         SEND BILL              INTEREST IN ITEM NUMBER
    ADDITIONAL               LIENHOLDER                                                                                                               LOCATION:                BUILDING:
    INSURED
    BREACH OF                LOSS PAYEE                                                                                                               VEHICLE:                 BOAT:
    WARRANTY
    CO-OWNER                 MORTGAGEE                                                                                                                AIRPORT:                 AIRCRAFT:
    EMPLOYEE                 OWNER                                                                                                                    ITEM                     ITEM:
    AS LESSOR                                                                                                                                         CLASS:
    LEASEBACK                REGISTRANT                                                                                                               ITEM DESCRIPTION
    OWNER
    LENDER'S
                             TRUSTEE       REFERENCE / LOAN #:                                   INTEREST END DATE:
    LOSS PAYABLE
                                           LIEN AMOUNT:                                          PHONE (A/C, No, Ext):                                FAX (A/C, No):

REASON FOR INTEREST:                                                                             E-MAIL ADDRESS:

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                                                                                                  AGENCY CUSTOMER ID: 00199161
GENERAL INFORMATION
EXPLAIN ALL "YES" RESPONSES                                                                                                                                                      Y/N

1a. IS THE APPLICANT A SUBSIDIARY OF ANOTHER ENTITY ?                                                                                                                            N
       PARENT COMPANY NAME                                                                                          RELATIONSHIP DESCRIPTION                          % OWNED



1b. DOES THE APPLICANT HAVE ANY SUBSIDIARIES?                                                                                                                                    N
       SUBSIDIARY COMPANY NAME                                                                                      RELATIONSHIP DESCRIPTION                          % OWNED



2.   IS A FORMAL SAFETY PROGRAM IN OPERATION?                                                                                                                                    Y
           SAFETY MANUAL              SAFETY POSITION              MONTHLY MEETINGS                OSHA

3.   ANY EXPOSURE TO FLAMMABLES, EXPLOSIVES, CHEMICALS?                                                                                                                          N




4.   ANY OTHER INSURANCE WITH THIS COMPANY? (List policy numbers)

       LINE OF BUSINESS                  POLICY NUMBER                                       LINE OF BUSINESS                       POLICY NUMBER




5.   ANY POLICY OR COVERAGE DECLINED, CANCELLED OR NON-RENEWED DURING THE PRIOR THREE (3) YEARS FOR ANY PREMISES OR                                                              Y
     OPERATIONS? (Missouri Applicants - Do not answer this question)
           NON-PAYMENT               AGENT NO LONGER REPRESENTS CARRIER                              Property with                   due to age of building
           NON-RENEWAL               UNDERWRITING                 CONDITION CORRECTED (Describe):

6.   ANY PAST LOSSES OR CLAIMS RELATING TO SEXUAL ABUSE OR MOLESTATION ALLEGATIONS, DISCRIMINATION OR NEGLIGENT HIRING?                                                          N




7.   DURING THE LAST FIVE YEARS (TEN IN RI), HAS ANY APPLICANT BEEN INDICTED FOR OR CONVICTED OF ANY DEGREE OF THE CRIME OF FRAUD,
     BRIBERY, ARSON OR ANY OTHER ARSON-RELATED CRIME IN CONNECTION WITH THIS OR ANY OTHER PROPERTY?                                                                              N
     (In RI, this question must be answered by any applicant for property insurance. Failure to disclose the existence of an arson conviction is a misdemeanor punishable
     by a sentence of up to one year of imprisonment).




8.   ANY UNCORRECTED FIRE AND/OR SAFETY CODE VIOLATIONS?                                                                                                                         N
       OCCUR DATE      EXPLANATION                                                                            RESOLUTION                                          RESOLVE DATE




9.   HAS APPLICANT HAD A FORECLOSURE, REPOSSESSION, BANKRUPTCY OR FILED FOR BANKRUPTCY DURING THE LAST FIVE (5) YEARS?                                                           N
       OCCUR DATE      EXPLANATION                                                                            RESOLUTION                                          RESOLVE DATE




10. HAS APPLICANT HAD A JUDGEMENT OR LIEN DURING THE LAST FIVE (5) YEARS?                                                                                                        N
       OCCUR DATE      EXPLANATION                                                                            RESOLUTION                                          RESOLVE DATE




11. HAS BUSINESS BEEN PLACED IN A TRUST?               NAME OF TRUST:                                                                                                            N
12. ANY FOREIGN OPERATIONS, FOREIGN PRODUCTS DISTRIBUTED IN USA, OR US PRODUCTS SOLD / DISTRIBUTED IN FOREIGN COUNTRIES?                                                         N
    (If "YES", attach ACORD 815 for Liability Exposure and/or ACORD 816 for Property Exposure)
13. DOES APPLICANT HAVE OTHER BUSINESS VENTURES FOR WHICH COVERAGE IS NOT REQUESTED?                                                                                             N




14. DOES APPLICANT OWN / LEASE / OPERATE ANY DRONES? (If "YES", describe use)                                                                                                    N


15. DOES APPLICANT HIRE OTHERS TO OPERATE DRONES? (If "YES", describe use)                                                                                                       N


REMARKS / PROCESSING INSTRUCTIONS (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)




PRIOR CARRIER INFORMATION
YEAR     CATEGORY                        GENERAL LIABILITY                          AUTOMOBILE                               PROPERTY                  OTHER:   Umbrella
         CARRIER

         POLICY NUMBER

2020     PREMIUM                $                                       $                                       $                                      $

         EFFECTIVE DATE                      06/20/2021                             06/20/2021                              06/20/2021                              06/20/2021
         EXPIRATION DATE                     06/20/2022                             06/20/2022                              06/20/2022                              06/20/2022
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                                                                                                    AGENCY CUSTOMER ID: 00199161
PRIOR CARRIER INFORMATION (continued)
YEAR   CATEGORY                          GENERAL LIABILITY                            AUTOMOBILE                                PROPERTY                   OTHER:   Umbrella
       CARRIER

       POLICY NUMBER

       PREMIUM                  $                                        $                                        $                                        $

       EFFECTIVE DATE

       EXPIRATION DATE

       CARRIER

       POLICY NUMBER

       PREMIUM                  $                                        $                                        $                                        $

       EFFECTIVE DATE

       EXPIRATION DATE

LOSS HISTORY                             Check if none         (Attach Loss Summary for Additional Loss Information)
ENTER ALL CLAIMS OR LOSSES (REGARDLESS OF FAULT AND WHETHER OR NOT INSURED) OR OCCURRENCES THAT MAY GIVE RISE TO CLAIMS
FOR THE LAST         YEARS                                                                                                                            TOTAL LOSSES: $
                                                                                                                                                                                 SUBRO-   CLAIM
   DATE OF                                                                                                                                                                       GATION   OPEN
                       LINE               TYPE / DESCRIPTION OF OCCURRENCE OR CLAIM                    DATE OF CLAIM            AMOUNT PAID             AMOUNT RESERVED
 OCCURRENCE                                                                                                                                                                       Y/N      Y/N




SIGNATURE
    Copy of the Notice of Information Practices (Privacy) has been given to the applicant. (Not required in all states, contact your agent or broker for your state's requirements.)

 PERSONAL INFORMATION ABOUT YOU, INCLUDING INFORMATION FROM A CREDIT OR OTHER INVESTIGATIVE REPORT, MAY BE COLLECTED FROM PERSONS
 OTHER THAN YOU IN CONNECTION WITH THIS APPLICATION FOR INSURANCE AND SUBSEQUENT AMENDMENTS AND RENEWALS. SUCH INFORMATION AS WELL AS
 OTHER PERSONAL AND PRIVILEGED INFORMATION COLLECTED BY US OR OUR AGENTS MAY IN CERTAIN CIRCUMSTANCES BE DISCLOSED TO THIRD PARTIES
 WITHOUT YOUR AUTHORIZATION. CREDIT SCORING INFORMATION MAY BE USED TO HELP DETERMINE EITHER YOUR ELIGIBILITY FOR INSURANCE OR THE
 PREMIUM YOU WILL BE CHARGED. WE MAY USE A THIRD PARTY IN CONNECTION WITH THE DEVELOPMENT OF YOUR SCORE. YOU MAY HAVE THE RIGHT TO
 REVIEW YOUR PERSONAL INFORMATION IN OUR FILES AND REQUEST CORRECTION OF ANY INACCURACIES. YOU MAY ALSO HAVE THE RIGHT TO REQUEST IN
 WRITING THAT WE CONSIDER EXTRAORDINARY LIFE CIRCUMSTANCES IN CONNECTION WITH THE DEVELOPMENT OF YOUR CREDIT SCORE. THESE RIGHTS MAY
 BE LIMITED IN SOME STATES. PLEASE CONTACT YOUR AGENT OR BROKER TO LEARN HOW THESE RIGHTS MAY APPLY IN YOUR STATE OR FOR INSTRUCTIONS ON
 HOW TO SUBMIT A REQUEST TO US FOR A MORE DETAILED DESCRIPTION OF YOUR RIGHTS AND OUR PRACTICES REGARDING PERSONAL INFORMATION.
 (Not applicable in AZ, CA, DE, KS, MA, MN, ND, NY, OR, VA, or WV. Specific ACORD 38s are available for applicants in these states.) (Applicant's Initials):

 Applicable in AL, AR, DC, LA, MD, NM, RI and WV: Any person who knowingly (or willfully)* presents a false or fraudulent claim for payment of a loss or
 benefit or knowingly (or willfully)* presents false information in an application for insurance is guilty of a crime and may be subject to fines and confinement in
 prison. *Applies in MD Only.
 Applicable in CO: It is unlawful to knowingly provide false, incomplete, or misleading facts or information to an insurance company for the purpose of
 defrauding or attempting to defraud the company. Penalties may include imprisonment, fines, denial of insurance and civil damages. Any insurance
 company or agent of an insurance company who knowingly provides false, incomplete, or misleading facts or information to a policyholder or claimant for the
 purpose of defrauding or attempting to defraud the policyholder or claimant with regard to a settlement or award payable from insurance proceeds shall be
 reported to the Colorado Division of Insurance within the Department of Regulatory Agencies.
 Applicable in FL and OK: Any person who knowingly and with intent to injure, defraud, or deceive any insurer files a statement of claim or an application
 containing any false, incomplete, or misleading information is guilty of a felony (of the third degree)*. *Applies in FL Only.
 Applicable in KS: Any person who, knowingly and with intent to defraud, presents, causes to be presented or prepares with knowledge or belief that it will be
 presented to or by an insurer, purported insurer, broker or any agent thereof, any written statement as part of, or in support of, an application for the issuance
 of, or the rating of an insurance policy for personal or commercial insurance, or a claim for payment or other benefit pursuant to an insurance policy for
 commercial or personal insurance which such person knows to contain materially false information concerning any fact material thereto; or conceals, for the
 purpose of misleading, information concerning any fact material thereto commits a fraudulent insurance act.
 Applicable in KY, NY, OH and PA: Any person who knowingly and with intent to defraud any insurance company or other person files an application for
 insurance or statement of claim containing any materially false information or conceals for the purpose of misleading, information concerning any fact material
 thereto commits a fraudulent insurance act, which is a crime and subjects such person to criminal and civil penalties (not to exceed five thousand dollars and
 the stated value of the claim for each such violation)*. *Applies in NY Only.
 Applicable in ME, TN, VA and WA: It is a crime to knowingly provide false, incomplete or misleading information to an insurance company for the purpose
 of defrauding the company. Penalties (may)* include imprisonment, fines and denial of insurance benefits. *Applies in ME Only.
 Applicable in NJ: Any person who includes any false or misleading information on an application for an insurance policy is subject to criminal and civil
 penalties.
 Applicable in OR: Any person who knowingly and with intent to defraud or solicit another to defraud the insurer by submitting an application containing a
 false statement as to any material fact may be violating state law.
 Applicable in PR: Any person who knowingly and with the intention of defrauding presents false information in an insurance application, or presents, helps,
 or causes the presentation of a fraudulent claim for the payment of a loss or any other benefit, or presents more than one claim for the same damage or loss,
 shall incur a felony and, upon conviction, shall be sanctioned for each violation by a fine of not less than five thousand dollars ($5,000) and not more than ten
 thousand dollars ($10,000), or a fixed term of imprisonment for three (3) years, or both penalties. Should aggravating circumstances [be] present, the penalty
 thus established may be increased to a maximum of five (5) years, if extenuating circumstances are present, it may be reduced to a minimum of two (2)
 years.
 THE UNDERSIGNED IS AN AUTHORIZED REPRESENTATIVE OF THE APPLICANT AND REPRESENTS THAT REASONABLE INQUIRY HAS BEEN MADE TO OBTAIN THE
 ANSWERS TO QUESTIONS ON THIS APPLICATION. HE/SHE REPRESENTS THAT THE ANSWERS ARE TRUE, CORRECT AND COMPLETE TO THE BEST OF HIS/HER
 KNOWLEDGE.
PRODUCER'S SIGNATURE                                                                                                                                               STATE PRODUCER LICENSE NO
                                                                                 PRODUCER'S NAME (Please Print)                                                    (Required in Florida)
                                                                                 Kamahne Jeffrey
APPLICANT'S SIGNATURE                                                                                                                     DATE                      NATIONAL PRODUCER NUMBER



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                                                                              AGENCY CUSTOMER ID: 00199161
                                                                                                  LOC #:

                                              ADDITIONAL REMARKS SCHEDULE                                                                       Page 1   of 1

AGENCY                                                                                NAMED INSURED
Relation Insurance, Inc.                                                              The Landmark Condominium Association, Inc.
POLICY NUMBER



CARRIER                                                                NAIC CODE
                                                                                      EFFECTIVE DATE:                              08/04/2021
ADDITIONAL REMARKS
THIS ADDITIONAL REMARKS FORM IS A SCHEDULE TO ACORD FORM,
FORM NUMBER:          125         FORM TITLE: Commercial Application
Commercial Property
Water Damage Deductible -
Roof Surfacing is covered on an actual Cash value basis. Cosmetic damage caused by wind/hail is not covered.




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                                                                                               AGENCY CUSTOMER ID: 00199161

                                                                                                                                                                                   DATE (MM/DD/YYYY)
                                                                            PROPERTY SECTION                                                                                          05/13/2022
AGENCY NAME                                                                                               CARRIER                                                                           NAIC CODE

Relation Insurance, Inc.
POLICY NUMBER                                                                       EFFECTIVE DATE        NAMED INSURED(S)
                                                                                      06/20/2022          The Landmark Condominium Association, Inc.
BLANKET SUMMARY
BLKT #            AMOUNT                                           TYPE                                   BLKT #           AMOUNT                                       TYPE




                                          PREMISES #:        1       STREET ADDRESS:        c/o Management Office 215 Piedmont Avenue, NE
PREMISES INFORMATION                      BUILDING #:        1       BLDG DESCRIPTION:

      SUBJECT OF INSURANCE                        AMOUNT                    VALU-         CAUSES OF LOSS       INFLATION      DED         DED     BLKT
                                                                    COINS % ATION                               GUARD %                            #             FORMS AND CONDITIONS TO APPLY
                                                                                                                                          TYPE
Building                                  32,230,924                             RC       Special (Including
                                                                                          theft)

Business Personal Property                51,000                                 RC       Special (Including
                                                                                          theft)

BI w/ Extra Expense                       50,000                                          Special (Including                               HR
                                                                                          theft)

Equipment Breakdown                       32,331,924                             RC       Special (Including
                                                                                          theft)

Earthquake                                5,000,000                              RC       Earthquake -
                                                                                          Building

ADDITIONAL INFORMATION                  BUSINESS INCOME / EXTRA EXPENSE - Attach ACORD 810                               VALUE REPORTING INFORMATION - Attach ACORD 811

ADDITIONAL COVERAGES, OPTIONS, RESTRICTIONS, ENDORSEMENTS AND RATING INFORMATION
SPOILAGE       DESCRIPTION OF PROPERTY COVERED                                                                  LIMIT                                       OPTIONS
                                                                                                                                          REFRIG MAINT
COVERAGE
                                                                                                                                           AGREEMENT
  (Y / N)                                                                                                       $                                                BREAKDOWN OR CONTAMINATION
                                                                                                                                             (Y / N)
                                                                                                                                                                                     SELLING
                                                                                                                DEDUCTIBLE                                       POWER OUTAGE
                                                                                                                                                                                     PRICE
                                                                                                                $
SINKHOLE COVERAGE (Required in Florida)                                                       ACCEPT COVERAGE                 REJECT COVERAGE             LIMIT: $

MINE SUBSIDENCE COVERAGE (Required in IL, IN, KY and WV)                                      ACCEPT COVERAGE                 REJECT COVERAGE             LIMIT: $

    PROPERTY HAS BEEN DESIGNATED AN HISTORICAL LANDMARK                                                                                                   # OF OPEN SIDES ON STRUCTURE:




CONSTRUCTION TYPE                                  DISTANCE TO                     FIRE DISTRICT                CODE NUMBER      PROT CL      # STORIES   # BASM'TS     YR BUILT     TOTAL AREA
                                                HYDRANT   FIRE STAT
                                                        FT          MI                                                                1          22                      1963        128,923
BUILDING IMPROVEMENTS                                            BLDG CODE       TAX CODE       ROOF TYPE                  OTHER OCCUPANCIES
                                                                   GRADE
    WIRING, YR:    2021          PLUMBING, YR: 2021
                                                                                                                              HEATING SOURCE INCL WOODBURNING                  DATE
    ROOFING, YR: 2021                              2021          WIND CLASS
                                 HEATING, YR:                                              SEMI- RESISTIVE                    STOVE OR FIREPLACE INSERT                        INSTALLED:
    OTHER:                                YR:                        RESISTIVE                                             MANUFACTURER:

PRIMARY HEAT                                                                                              SECONDARY HEAT

    BOILER                 SOLID FUEL                                                                          BOILER               SOLID FUEL

    IF BOILER, IS INSURANCE PLACED ELSEWHERE?                     Y/N                                          IF BOILER, IS INSURANCE PLACED ELSEWHERE?               Y/N
RIGHT EXPOSURE & DISTANCE                           LEFT EXPOSURE & DISTANCE                              FRONT EXPOSURE & DISTANCE                        REAR EXPOSURE & DISTANCE



BURGLAR ALARM TYPE                                                        CERTIFICATE #                                                               EXPIRATION DATE            CENTRAL           LOCAL
                                                                                                                                                                                 STATION           GONG
                                                                                                                                                                                 WITH KEYS
BURGLAR ALARM INSTALLED AND SERVICED BY                                                                   EXTENT                      GRADE           # GUARDS / WATCHMEN             CLOCK HOURLY


PREMISES FIRE PROTECTION (Sprinklers, Standpipes, CO2 / Chemical Systems)                        % SPRNK       FIRE ALARM MANUFACTURER                                                CENTRAL STATION

                                                                                                    100                                                                               LOCAL GONG

ADDITIONAL INTEREST                       ACORD 45 attached for additional names
INTEREST                           NAME AND ADDRESS          RANK:              EVIDENCE:          CERTIFICATE                                                       INTEREST IN ITEM NUMBER
    LENDER'S LOSS PAYABLE                                                                                                                                  LOCATION:                BUILDING:
    LOSS PAYEE                                                                                                                                             ITEM
                                                                                                                                                           CLASS:                   ITEM:
    MORTGAGEE                                                                                                                                              ITEM DESCRIPTION



                                   REFERENCE / LOAN #:

ACORD 140 (2016/03)                                                                       Attach to ACORD 125                  © 1985-2015 ACORD CORPORATION. All rights reserved.
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                                                                                       AGENCY CUSTOMER ID:               00199161

ADDITIONAL                             PREMISES #:            STREET ADDRESS:

PREMISES INFORMATION                   BUILDING #:            BLDG DESCRIPTION:

      SUBJECT OF INSURANCE                     AMOUNT         COINS % VALU-        CAUSES OF LOSS      INFLATION      DED      DED      BLKT
                                                                                                                                                       FORMS AND CONDITIONS TO APPLY
                                                                      ATION                             GUARD %                TYPE      #




ADDITIONAL INFORMATION               BUSINESS INCOME / EXTRA EXPENSE - Attach ACORD 810                         VALUE REPORTING INFORMATION - Attach ACORD 811

ADDITIONAL COVERAGES, OPTIONS, RESTRICTIONS, ENDORSEMENTS AND RATING INFORMATION
SPOILAGE       DESCRIPTION OF PROPERTY COVERED                                                         LIMIT                   REFRIG MAINT       OPTIONS
COVERAGE                                                                                                                        AGREEMENT
                                                                                                       $                                               BREAKDOWN OR CONTAMINATION
  (Y / N)                                                                                                                         (Y / N)
                                                                                                                                                                           SELLING
                                                                                                       DEDUCTIBLE                                      POWER OUTAGE
                                                                                                                                                                           PRICE
                                                                                                       $
SINKHOLE COVERAGE (Required in Florida)                                                ACCEPT COVERAGE               REJECT COVERAGE            LIMIT: $

MINE SUBSIDENCE COVERAGE (Required in IL, IN, KY and WV)                               ACCEPT COVERAGE               REJECT COVERAGE            LIMIT: $

    PROPERTY HAS BEEN DESIGNATED AN HISTORICAL LANDMARK                                                                                         # OF OPEN SIDES ON STRUCTURE:




CONSTRUCTION TYPE                               DISTANCE TO                  FIRE DISTRICT             CODE NUMBER       PROT CL    # STORIES   # BASM'TS    YR BUILT    TOTAL AREA
                                             HYDRANT   FIRE STAT
                                                     FT       MI
BUILDING IMPROVEMENTS                                      BLDG CODE        TAX CODE    ROOF TYPE                  OTHER OCCUPANCIES
                                                             GRADE
    WIRING, YR:                 PLUMBING, YR:
                                                           WIND CLASS                                                 HEATING SOURCE INCL WOODBURNING              DATE
    ROOFING, YR:                HEATING, YR:                                        SEMI- RESISTIVE                   STOVE OR FIREPLACE INSERT                    INSTALLED:
    OTHER:                             YR:                    RESISTIVE                                            MANUFACTURER:

PRIMARY HEAT                                                                                     SECONDARY HEAT

    BOILER              SOLID FUEL                                                                    BOILER             SOLID FUEL

    IF BOILER, IS INSURANCE PLACED ELSEWHERE?              Y/N                                        IF BOILER, IS INSURANCE PLACED ELSEWHERE?              Y/N
RIGHT EXPOSURE & DISTANCE                        LEFT EXPOSURE & DISTANCE                        FRONT EXPOSURE & DISTANCE                       REAR EXPOSURE & DISTANCE



BURGLAR ALARM TYPE                                                 CERTIFICATE #                                                          EXPIRATION DATE            CENTRAL          LOCAL
                                                                                                                                                                     STATION          GONG
                                                                                                                                                                     WITH KEYS
BURGLAR ALARM INSTALLED AND SERVICED BY                                                          EXTENT                     GRADE         # GUARDS / WATCHMEN             CLOCK HOURLY


PREMISES FIRE PROTECTION (Sprinklers, Standpipes, CO2 / Chemical Systems)                % SPRNK      FIRE ALARM MANUFACTURER                                             CENTRAL STATION

                                                                                                                                                                          LOCAL GONG

ADDITIONAL INTEREST                    ACORD 45 attached for additional names
INTEREST                          NAME AND ADDRESS        RANK:          EVIDENCE:           CERTIFICATE                                                   INTEREST IN ITEM NUMBER
    LENDER'S LOSS PAYABLE                                                                                                                        LOCATION:              BUILDING:
    LOSS PAYEE                                                                                                                                   ITEM
                                                                                                                                                 CLASS:                 ITEM:
    MORTGAGEE                                                                                                                                    ITEM DESCRIPTION



                                  REFERENCE / LOAN #:

REMARKS (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
Water Damage Deductible -
Roof Surfacing is covered on an actual Cash value basis. Cosmetic damage caused by wind/hail is not covered.




ACORD 140 (2016/03)                                                                      Page 2 of 3
                        Case 1:25-cv-00414-SEG                         Document 1-3                 Filed 01/30/25               Page 9 of 10
                                                                              AGENCY CUSTOMER ID:            00199161
SIGNATURE

 Applicable in AL, AR, DC, LA, MD, NM, RI and WV
 Any person who knowingly (or willfully)* presents a false or fraudulent claim for payment of a loss or benefit or knowingly (or willfully)* presents false
 information in an application for insurance is guilty of a crime and may be subject to fines and confinement in prison. *Applies in MD Only.

 Applicable in CO
 It is unlawful to knowingly provide false, incomplete, or misleading facts or information to an insurance company for the purpose of defrauding or attempting to
 defraud the company. Penalties may include imprisonment, fines, denial of insurance and civil damages. Any insurance company or agent of an insurance
 company who knowingly provides false, incomplete, or misleading facts or information to a policyholder or claimant for the purpose of defrauding or
 attempting to defraud the policyholder or claimant with regard to a settlement or award payable from insurance proceeds shall be reported to the Colorado
 Division of Insurance within the Department of Regulatory Agencies.


 Applicable in FL and OK
 Any person who knowingly and with intent to injure, defraud, or deceive any insurer files a statement of claim or an application containing any false,
 incomplete, or misleading information is guilty of a felony (of the third degree)*. *Applies in FL Only.

 Applicable in KS
 Any person who, knowingly and with intent to defraud, presents, causes to be presented or prepares with knowledge or belief that it will be presented to or by
 an insurer, purported insurer, broker or any agent thereof, any written statement as part of, or in support of, an application for the issuance of, or the rating of
 an insurance policy for personal or commercial insurance, or a claim for payment or other benefit pursuant to an insurance policy for commercial or personal
 insurance which such person knows to contain materially false information concerning any fact material thereto; or conceals, for the purpose of misleading,
 information concerning any fact material thereto commits a fraudulent insurance act.

 Applicable in KY, NY, OH and PA
 Any person who knowingly and with intent to defraud any insurance company or other person files an application for insurance or statement of claim
 containing any materially false information or conceals for the purpose of misleading, information concerning any fact material thereto commits a fraudulent
 insurance act, which is a crime and subjects such person to criminal and civil penalties* (not to exceed five thousand dollars and the stated value of the claim
 for each such violation)*. *Applies in NY Only.

 Applicable in ME, TN, VA and WA
 It is a crime to knowingly provide false, incomplete or misleading information to an insurance company for the purpose of defrauding the company. Penalties
 (may)* include imprisonment, fines and denial of insurance benefits. *Applies in ME Only.

 Applicable in NJ
 Any person who includes any false or misleading information on an application for an insurance policy is subject to criminal and civil penalties.

 Applicable in OR
 Any person who knowingly and with intent to defraud or solicit another to defraud the insurer by submitting an application containing a false statement as to
 any material fact may be violating state law.

 Applicable in PR
 Any person who knowingly and with the intention of defrauding presents false information in an insurance application, or presents, helps, or causes the
 presentation of a fraudulent claim for the payment of a loss or any other benefit, or presents more than one claim for the same damage or loss, shall incur a
 felony and, upon conviction, shall be sanctioned for each violation by a fine of not less than five thousand dollars ($5,000) and not more than ten thousand
 dollars ($10,000), or a fixed term of imprisonment for three (3) years, or both penalties. Should aggravating circumstances [be] present, the penalty thus
 established may be increased to a maximum of five (5) years, if extenuating circumstances are present, it may be reduced to a minimum of two (2) years.




 THE UNDERSIGNED IS AN AUTHORIZED REPRESENTATIVE OF THE APPLICANT AND REPRESENTS THAT REASONABLE INQUIRY HAS BEEN MADE TO OBTAIN THE
 ANSWERS TO QUESTIONS ON THIS APPLICATION. HE/SHE REPRESENTS THAT THE ANSWERS ARE TRUE, CORRECT AND COMPLETE TO THE BEST OF HIS/HER
 KNOWLEDGE.
PRODUCER'S SIGNATURE                                                                                                                            STATE PRODUCER LICENSE NO
                                                                        PRODUCER'S NAME (Please Print)                                          (Required in Florida)
                                                                        Kamahne Jeffrey
APPLICANT'S SIGNATURE                                                                                                     DATE                   NATIONAL PRODUCER NUMBER



ACORD 140 (2016/03)                                                             Page 3 of 3
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                     PROPERTY SUBJECTS OF INSURANCE AND COVERAGES
Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate
1       1        Flood                       FL         Flood
Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium
                           5,000,000

Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


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Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium



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Option Codes               Limit 1     Limit 2              Deductible Amount        Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


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Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium



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